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IN THE UNITED STATES DISTRICT C()URT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

INTERNATIONAL BR()THERHOOD OF : CIVIL ACTI()N
ELECTRICAL WORKERS LOCAL UNION '

N(). 654 HEALTH AND WELFARE FUND .

c/o Frank M. Vaccaro Associates : NO.

127 Roland Avenue, Suite 200 '

Mount Laurel, NJ 08054,

and

INTERNATIONAL BR()THERHOOD OF
ELECTRICAL WORKERS LOCAL UNION
NO. 654 PENSI()N FUND

c/0 F rank M. Vaccaro Associates

27 Roland Avenue, Suite 200

Mount Laurel, NJ 08054,

and

PAUL MULLEN, TRUSTEE
INTERNATIONAL BROTHERHOOD OF
ELECTRICAL WORKERS LOCAL UNION
N(). 654 BENEFIT FUNDS
3729 Chichester Avenue
Boothwyn, PA 19061-3135,

Plaintiffs,

v.
VALIANT ENERGY SERVICES, LLC
d/b/a VALIANT POWER GROUP
1 Commerce Street
Branchburg, NJ 08876,
Defendant.
COMPLAINT
The Parties
1. Plaintiffs, International Brotherhood of Electrieal Workers Local Union No. 654

Health and Welfare Fund and International Brotherhood ofElectrical Workers Local Union NO. 654

Pension Fund ("Plaintiff Funds") are employee benefit plans Within the meaning of Section 3 of the

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Employee Retirement lncome Security Act of 1974 (ERISA), 29 U.S.C. Section 1002(3) With their

principal office located at 27 Roland Avenue, Suite 200, l\/lount Laurel, NJ 08054.

2. Plaintiff, Paul Mullen, is a Trustee of each of the aforementioned employee benefit
plans and a fiduciary Within the meaning of Section 21(A) of the Employee Retirement lncome
Security Act of 1974 (“ERISA”), 29 U.S.C. Section 1002(21)(A) With his principal office located

at 3729 Chichester Avenue, Boothwyn, PA 19061-3135.

3. Defendant, Valiant Energy Services, LLC d/b/a Valiant Power Group, ("Defendant")

is a company With a principal business location at 1 Commerce Street, Branchburg, NJ 08876.

4. Defendant is engaged in commerce Within the meaning of Section 2(6) of the Labor
Management Relations Act of` 1947, as amended, 29 U.S.C. Section 152(6) and has employed
members of Plaintiff Union pursuant to a collective bargaining agreement in the Commonwealth of

Pennsylvania.

5. Defendant is an Employer Within the meaning of Section 2(2) of the National Labor
Relations Act and Section 301 of the Labor l\/lanagement Relations Act of 1947, as amended, 29
U.S.C. Section 152(2) and Section 185; and ERISA Sections 3(5) and 515, 29 U.S.C. Section

1002(5) and Section 1145.

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Jurisdiction & Venue
6. Jurisdiction of the District Court is invoked pursuant to 28 U.S.C. Section 1337,
providing for original jurisdiction in civil actions that arise out of an Act of Congress regulating

COmm€l'C€.

7. Jurisdiction of the District Court is invoked pursuant to the provisions of ERISA
Section 502 and Section 515, 29 U.S.C. Sections 1132 and 1145, in that Defendant is an employer
as defined by ERISA. The Eastern District of Pennsylvania is the proper venue under ERISA
Section 502(e)(2), 29 U.S.C. Section l 132(e)(2), because the Defendant’s principal office is located

in this judicial district

Cause Of Action
8. T he Defendant is a party to a collective bargaining agreement(s) With the lnternational
Brotherhood of Electrical Workers Local Union No. 654, Which requires that the Defendant make
certain contributions to the Plaintiff Funds. The relevant provisions of the collective bargaining

agreement are attached as Exhibit A.

9. Defendant, like all other contributing employers to Plaintiff Funds, is required to
submit monthly reports setting forth the hours Worked by employees covered under the collective
bargaining agreement(s), and to remit fringe benefit contributions to Plaintiff Funds, at rates
commensurate With those required under the collective bargaining agreement(s), for all hours

Worked.

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1 0. Notvvithstanding the obligations contained in said collective bargaining agreement(s),
Defendant has failed to remit liquidated damages and interest on delinquent contributions for the

period of l\/lay l, 2017 through September 31, 2017.

l 1 . Additionally, Defendant has failed to remit fringe benefit contributions for the period
of October 1, 2017 to present, thus resulting in a total delinquency in the amount of at least

$44,657.36, including interest and liquidated damages

12. These amounts may change as Defendant makes or fails to make payments related

to either additional or prior vvork performed under the collective bargaining agreement(s).

13. Defendant has been notified of the delinquencies, but has failed to make payments

as required by the agreement(s).

WHEREFORE, Plaintiffs request this Court to grant judgment against the Defendant and
in favor of the Plaintiffs as follows:

a. Judgment in the amount of $44,657.36, or such other amount as may be
due and owing When this cause of action reaches judgment;

b. Reasonable counsel fees, interest and costs of suit, pursuant to the
applicable collective bargaining agreement(s) and Section 502 of ERISA;

c. Injunctive relief ordering Defendant to remit employer reports,
contributions, and other required payments in an accurate and timely

fashion;

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d. Liquidated damages as provided by the applicable collective bargaining
agreement(s) and by Section 502 of ERISA;

e. An accounting of all amounts due to the various plaintiffs, based upon
examination of the Defendant’s payroll records; and

f. Other relief as the Court deems just and proper.

Respectf`ully submitted,
SPEAR WILDERMAN, P.C.

 

NIC l oLAs J. 15 TA, EsQUIRE
Validation of Signature NJB8726
230 South Broad Street, Suite 1400
Philadelphia, PA 19102

(215) 732-0101

Attorney for Plaintiffs

Dated: l\/Iarch 19, 2018

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EXHIBIT “A”

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AGREEMENT

Agreement by and between the Chester Division, Penn-Del~Jersey
Chapter, N.E.C.A., and Local Union No. 654, I.B.E.W.

lt shall apply to all firms who sign a Letter of Assent to be
bound by this Agreement.

As used hereinafter in this Agreement, the term "Chapter" shall
mean the Chester Division, Penn-Del-Jersey Chapter, N.E.C.A., and the
term "Union" shall mean Local Union No. 654, I.B.E.W.

The term "employer" shall mean an individual firm who has been

recognized by an Assent to this Agreement.

BASIC PRINCIPLES

The Employer and the Union have a common and sympathetic interest

in the Electrical lndustry. Therefore, a working system and
harmonious relations are necessary to improve the relationship between
the Employee, the Union and the Public. Progress in industry demands

a mutuality of confidence between the Employer and the Public.
Progress in industry demands peace and by adjusting any differences by
rational common-sense nethods. Now, therefore, in consideration of
the mutual promises and agreements contained herein, the parties agree
hereto as follows:

ARTICLE l
Effective Date - Changes - Grievances ~ Disputes
Section l.Ol - This agreement shall take effect June 2, 2014 and
remain in effect until May 28, 2017, unless otherwise specified,
provided for herein. lt shall continue in effect from year to year
thereafter, from June l through May 31 of each year, unless changed or
terminated in the way later provided herein. finch

Section 1.02 (a)Either party or an Employer withdrawing representation
from_ the Chapter or not represented by the Chapter, desiring to
change or terminate this Agreement must provide written notification
at least 90 days prior to the expiration date of the Agreement or any
anniversary date occurring thereafter.

(b)Whenever notice is given for changes, the nature of
the changes desired must be specified in the notice, or no later than
the first negotiating meeting unless mutually agreed otherwise.

(c)The existing provisions of the Agreement, including
this Article, shall remain in full force and effect until a conclusion
is reached in the matter of proposed changes.

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(d)Unresolved issues or disputes arising out of the failure
to negotiate a renewal or modification of this agreement that remain
on the 20th of the month preceding the next regular meeting of the
Council on lndustrial Relations for the Electrical Contracting
Industry (CIR) may be submitted jointly or unilaterally to the Council
for adjudication. Such unresolved issues or disputes shall be
submitted no later than the next regular meeting of the Council
following the expiration date of this agreement or any subsequent
anniversary date. The Council’s decisions shall be final and binding.

(e)When a case has been submitted to the Council, it shall
be the responsibility of the negotiation committee to continue to meet
weekly in an effort to reach a settlement on the local level prior to
the meeting of the Council.

(f)Notice of a desire to terminate this Agreement shall be
handled in the same manner as a proposed change.

Section l.03 This Agreement shall be subject to change or supplement
at any time by mutual consent of the parties hereto. Any such change
or supplement agreed upon shall be reduced to writing, signed by the
parties hereto, and submitted to the International Office of the IBEW
for approval, the same as this Agreement.

Section l.04 There shall be no stoppage of work either by strike or
lockout because of any proposed changes in this agreement or disputes
over matters relating to this Agreement. All such matters must be
handled as stated herein.

Section l.05 There shall be a labor-Management Committee of three
representing the Union and three representing the Employers. lt shall
meet regularly at such stated. times as it may decide. However, it
shall also meet within 48 hours when notice is given by either party.
lt shall select its own Chairman and Secretary. The Local Union shall
select the Union representatives and the Chapter shall select the
management representatives.

Section 1.06 All grievances or questions in dispute shall be adjusted
by the duly authorized representatives of each of the parties to this
Agreement. In the event that these two are unable to adjust any
matter within 48 hours, they shall refer the same to the Labor-
Management Committee.

Section l.07 All matters coming before the Labor~Management Committee
shall be decided by majority vote. Four members of the committee, two
from each of the parties hereto, shall be a quorum for the transaction
of business, but each party shall have the right to cast the full vote
of its membership and it shall be counted as though all were present
and voting.

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Section 1.08 Should the Labor-Management Committee fail to agree or
to adjust any matter, such shall then be referred to the Council on
lndustrial Relations for the Electrical Contracting lndustry for
adjudication. The Council's decision shall be final and binding.

Section l.09 When any matter in dispute has been referred to
conciliation or arbitration for adjustment, the provisions and
conditions prevailing prior to the time such matters arose shall not
be changed or abrogated until agreement has been reached or a ruling
has been made.

ARTICLE ll
Employer Rights a Union Rights

Section 2.01 Members of the Union, except those meeting the
requirements of "Employer", as defined herein, shall not contract for
any electrical work.

Section 2.02 An essential and basic requirement of employment by any
Employer under this Agreement shall be that all workmen shall be ready
and able to work with safety to themselves and others at all times,
and that all work shall be performed as safely as care and skill in
layout and performance shall permit. Therefore, only those workmen
shall be employed by the Employer, who possess sufficient skill and
ability to meet this requirement.

Section 2.03 All Employees who are members of the Union on the
effective date of this Agreement shall be required to remain members
of the Union as a condition of employment during the term of this
Agreement. New Employees shall be required to become and remain
members of the Union as a condition of employment from and after the
thirty~first (3lst) day following the dates of their employment, or
the effective date of this Agreement, whichever is later.

(a) For his part, the Employer recognizes the Union as the
exclusive representative of all his Employees performing work within
the jurisdiction of the Union for the purpose of collective bargaining
in respect to rates of pay, wages, hours or employment and other
conditions of employment.

Section 2.04 Certain qualifications, knowledge, experience and
financial responsibility are required of anyone desiring to be an
Employer in the Electrical lndustry. Therefore, an Employer who

contracts for Electrical work is a person, firm or corporation having
these qualifications and maintaining a permanent place of business and
a suitable financial status to meet payroll requirements.

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Section 2.05 For all Employees covered by this Agreement, the
Employer shall carry Workmen's Compensation Insurance with a Company
authorized to do business in this State, Social Security and such
other~ protective insurance as may be required. by the laws of this
State, and shall furnish satisfactory proof of such to the Union; he
shall also make contributions to the Pennsylvania Unemployment
Compensation Commission.

Section 2.06 The Union reserves the right to discipline its members
for violations of its laws, rules and agreement.

Section 2.07 This Agreement does not deny the right of the Union or
its representatives to render assistance to other labor organizations
by removal of its members from jobs when necessary and when the Union
or its proper representatives decide to do so, but no removal shall
take place until notice is given to the Employer involved.

Section 2.08 When such a removal takes place, the Union or its
representatives shall direct the workmen on such job to carefully put
away all tools, materials, equipment or any other property of the
Employer in a safe manner. The Union will be financially responsible
for any loss to the Employer for neglect in carrying out this
provision, but only when a safe place is provided for these by the
employer.

Section 2.09 An employer signatory to a collective bargaining
agreement or to a letter of assent to an agreement with another IBEW
Local Union, who signs an assent to the Agreement, may bring up to
four bargaining unit employees employed in that Local Union's
jurisdiction into this Local’s jurisdiction and up to two bargaining
unit employees per job from that Local's jurisdiction to this Local's
jurisdiction for specialty or service and maintenance work. All
charges of violations of this section shall be considered as a dispute
and shall be processed in accordance with the provisions of this
agreement for the handling of grievances with the exception that any
decision of a local labor-management committee that may be contrary to
the intent of the parties to the National Agreement on Employee
Portability, upon recommendation of either or both the appropriate
IBEW International Vice President or NECA Regional Executive Director,
is subject to review, modification, or rescission by the Council on
Industrial Relations.

Section 2.10 The Union agrees that if, during the life of this
Agreement, it grants to any other Employer in the Electrical
Contracting Industry on work covered_ by this Agreement, any better
terms or conditions than those set forth in this Agreement, such
better terms or conditions shall be made available to the Employer
under this Agreement and the Union shall immediately notify the
Employer of any such concession.

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Section 2.ll The Local Union is a part of the International
Brotherhood of Electrical Workers and any violation or annulment by an
individual Employer of the approved Agreement of this or any other
Local Union of the l.B.E.W., other than violations of Paragraph 2 of
this Section, will be sufficient cause for the cancellation of this
agreement by the Local Union after a finding has been made by the
lnternational President of the Union that such a violation or
annulment has occurred.

The subletting, assigning or transfer by an individual Employer
of any work in connection with electrical work to any person, firm or
corporation not recognizing the I.B.E.W., or one of its Local Unions
as the collective bargaining representative of his employees on any
electrical work in the jurisdiction of this or any other Local Union
to be performed at the site of the construction, alteration, painting,
or repair of a building, structure or other work, will be deemed a
material breach of this Agreement.

All charges of violations of Paragraph 2 of this Section shall be
considered as a dispute and shall be processed in accordance with the
provision of this Agreement covering the procedure for the handling of
grievances and the final binding resolution of disputes.

Section 2.l2 Employers will not be permitted to work at the
Electrical trade.

Section 2.13 The Union understands the Employer is responsible to
perform the work required by the owner. The Employer shall,
therefore, have no restrictions, except those specifically provided
for in the collective bargaining agreement, in planning, directing and
controlling the operation of all his work, in deciding the number and
kind of employees to properly perform the work, in hiring and laying
off employees, in transferring employees from job to job within the
Local Union's geographical jurisdiction, in determining the need and
number as well as the person who will act as foremen, in requiring all
employees to observe the Employer's and/or owner's rules and
regulations not inconsistent with this Agreement, in requiring all
employees to observe all safety regulations, and in discharging
employees for proper cause.

Employer shall have the right to call foremen by name provided:

(a) Employer shall have the right to call foremen by name.

(b) The employee has not quit his previous employer within the
past two weeks.

(c) The employer shall notify the Business Manager in writing
of the name of the individual who is to be requested.

(d) When an employee is called as a foreman he must remain

as a foreman for two hundred hours (200) or must receive
a reduction in force lay-off. This employee shall not
receive less than the pertinent foreman's rate of pay.

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Section 2.14 All Employers, by contractual agreement, shall forward
to the Local Business Manager within forty~eight (48) hours of any
accident, a legible copy of the "Employer's First Report of lnjury."

ARTICLE III
lnside Referral Procedure

Section 3.01 ln the interest of maintaining an efficient system of
production. in the industry, providing for an orderly procedure of
referral of applicants for employment, preserving the legitimate
interests of the employees in their employment status within the area
and of eliminating discrimination in employment because of membership
or non-membership in the Union, the parties hereto agree to the
following system of referral of applicants for employment.

Section 3.02 The Union shall be the sole and exclusive source of
referrals of applicants for employment.

Section 3.03 The Employer shall have the right to reject any
applicant for employment.

Section 3.04 The Union shall select and refer applicants for
employment without discrimination against such applicants by reason of
membership or non~membership in the Union and such selection and
referral shall not be affected in any way by rules, regulations, by-
laws, constitutional provisions or any other aspect or obligation of
Union membership policies or requirements. All such selection and
referral shall be in accord with the following procedure.

Section 3.05 The Union shall maintain a register of applicants for
employment established on the basis of the Groups listed below. Each
applicant for employment shall be registered in the highest priority
Group for which he qualifies.

Journeyman Wireman - Journeyman Technician

GROUP l. All applicants for employment who have four or more
years’ experience in the trade; are residents of the geographical area
constituting the normal construction labor market; have passed a
Journeyman Wireman's examination given 131 a duly constituted lnside
Construction Local Union of the I.B.E.W. or have been certified as a
Journeyman Wireman by any lnside Joint Apprenticeship and Training
Committee; and, who have been employed in the trade for a period of
at least. one year` in the last four years in the geographical area
covered by the collective bargaining agreement.

GROUP ll. All applicants for employment who have four or more
years’ experience in the trade and who have passed a Journeyman
Wireman’s examination given by a duly constituted Inside Construction
Local Union of the I.B.E.W. or have been certified as a Journeyman
Wireman by an Inside Joint Apprenticeship and Training Committee.

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GROUP lll. All applicants for employment who have two or more
years’ experience in the trade; are residents of the geographical area
constituting the normal construction labor market; and who have been
employed for at least six months in the last three years in the
geographical area covered by the collective bargaining agreement.

GROUP IV. All applicants for employment who have worked at the
trade for more than one year,

Section 3.06 lf the registration_ list is exhausted and the Local.
Union is unable to refer applicants for employment to the

Employer within forty-eight (48) hours from the time of receiving the
Employer's request, Saturdays, Sundays, and holidays excepted, the
Employer shall be free to secure applicants without using the Referral
Procedure, but such applicants, if hired, shall have the status of
"temporary employees".

Section 3.07 The Employer shall notify the Business Manager promptly
of the names and Social Security numbers of such "temporary
employees," and shall replace such "temporary employees" as soon as
registered applicants for employment are available under the Referral
Procedure.

Section 3.08 "Normal construction labor market" is defined to mean
the following geographical area plus the commuting distance adjacent
thereto, which includes the area from which the normal labor supply is
secured:. - ~

State of Pennsylvania - Chester County

That portion south of U. S. Highway 30 and north of the Maryland
State Line and north of the Delaware State Line.

State of Pennsylvania - Delaware County

That portion south of U. S. Highway 30 and north of the Delaware
State Line; and west of a line extending from Montgomery County along
State Route 320 to Marple; then along Springfield Road to Saxer
Avenue; along Saxer Avenue to Powell Road; along Powell Road to State
Highway 420; along 420 and continuing in a straight line to the
Delaware River in the State of Pennsylvania.

State of Delaware

That portion that is the Sun Oil Refinery that extends beyond the
Pennsylvania State Line into the State of Delaware.

The above geographical area is agreed_ upon by the parties to
include the areas defined by the Secretary of Labor to be the
appropriate prevailing wage areas under the Davis Bacon Act to which
this Agreement applies.

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Section 3.09 Resident - means a person who has maintained his
permanent home in the above defined geographical area for a period of
not less than one year or who, having had a permanent home in the
area, has temporarily left with the intention of returning to this
area as his permanent home.

Section 3.10 An "examination" shall include experience rating tests
if such examination shall have been given prior to the date of this
procedure, but from and after the date of this procedure, shall
include only written_ and/or practical examinations given by a duly
constituted lnside Construction Local Union of the I.B.E.W.
Reasonable intervals of time for examinations are specified as ninety
(90) days. An applicant shall be eligible for examination if he has
four years’ experience in the trade.

Section 3.ll The Union shall maintain an "Out of Work List" which
shall list the applicants within each Group in chronological order of
the dates they register their availability for employment.

Section 3.12 An applicant who has registered on the "Out of Work
List" must renew his application every thirty (30) calendar days or
his name will be removed from the "List."

Section 3.13 An applicant who is hired and who receives, through no
fault of his own, work of forty hours or less, shall upon re-
registration, be restored to his appropriate place within his Group.

Section 3.14 (a)Employers shall advise the Business Manager` of the
Local Union of the number of applicants needed. The Business Manager
shall refer applicants to the Employer by first referring applicants
in GROUP l, in the order of their place on the "Out of Work List" and
then referring applicants in the same manner successively from_ the
"Out of Work List" in GROUP II, then GROUP lll, and then GROUP lV.
Any applicant who is rejected by the employer shall be returned to his
appropriate place within his GROUP and shall be referred to other
employment in accordance with the position of his GROUP and his place
within the GROUP.

(b) An applicant who is discharged for cause two times within a
12~month period shall be referred to the neutral member of the Appeals
Committee for a determination as to the applicant's continued
eligibility for referral. The neutral member of the Appeals Committee

shall, within three business days, review the qualifications of the
applicant and the reasons for the discharges. The neutral member of
the Appeals Committee may, in his or her sole discretion: (l) require
the applicant to obtain further training from the JATC before again
being eligible for referral; (2) disqualify the applicant for referral
for a period of four weeks or longer depending on the seriousness of
the conduct and/or repetitive nature of the conduct; (3) refer the
applicant to an employee assistance program, if available, for
evaluation and recommended, action; or (4) restore the applicant to
his/her appropriate place on the referral list.

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Section 3.15 The only exceptions which shall be allowed in this order
of referral are as follows:

(a) When the Employer states bona fide requirements for special
skills and abilities in his request for applicants, the Business
Manager shall refer the first applicant on the register possessing
such skills and abilities.

(b) The age ratio clause in the Agreement calls for employment
of an additional employee or employees on the basis of age; therefore,
the Business Manager shall refer the first applicant on the register
satisfying the applicable age requirements provided, however, that all
names in higher priority GROUPS, if any, shall first be exhausted
before such over~age reference can be made.

Section 3.16 An Appeals Committee is hereby established composed of
one (l) member appointed by the Union, one (l) member appointed by the
Employer or by the Association¢ as the case may be, and a Public
Member appointed by both these members.

Section 3.17 lt shall be the function of the Appeals Committee to
consider any complaint of any employee or applicant for employment
arising out of the administration by the Local Union of Sections 3.04
through 3.15 of this Agreement. The Appeals Committee shall have the
power to make a final and binding decision on any such complaint which
shall be complied with by the Local Union, The Appeals Committee is
authorized to issue procedural rules for the conduct of its business,
but it is not authorized to add to, subtract from, or modify any of
the provisions of this Agreement and its decision shall be in accord
with this Agreement.

Section 3.18 A representative of the Employer or of the Association,
as the case may be, designated to the Union in writing, shall be
permitted to inspect the Referral Procedure records at any time during
the normal business hours.

Section 3.19 A copy of the Referral Procedure set forth in this
Agreement shall be posted on the Bulletin Board in the offices of the
Local Union and in the offices of the Employers who are parties to
this Agreement.

Section 3.20 Apprentices shall be hired and transferred in accordance
with the Apprenticeship provisions of the Agreement between the
parties.

Section 3.21 An employer shall have the right to recall for
employment any former employee that the employer has laid off,
provided that:

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(a) The former employee is in the highest level Group on the
referral list containing applicants available for work,
regardless of the individual's position on the list.

(b) The recall is made within (26) weeks from the time of the
layoff; unless the eligibility period for receiving
unemployment benefits in the state is modified.

(c) The former employee has not quit his most recent employer
under this agreement within the two weeks prior to the
recall request; and the former employee is not an
apprentice.

ARTICLE lV
Hours - Wage Payment - Apprentices - Working Conditions

Section 4.01 Eight (8) hours between the hours of 6:00 a.m. and 5:00
p.m., with a thirty (30) minute lunch between 12:00 noon and 12:30
p.m., shall constitute a regular work day.

(a) Five (5) days shall be the regular` work week Monday to
Friday inclusive.

(b) Four Ten-Hour days, Monday to Thursday inclusive, may be
worked with Friday as a make-up day for lost time due to inclement
weather or emergencies only. Fridays will have at least eight (8)
hours of work available,

Section 4.02 - All over-time work performed, Monday through Saturday
inclusive, shall be paid for at one and one-half (l %) times the
regular straight time rate of pay.

(a) All work performed on Sundays, and the following holidays:
New Year's Day, Memorial Day, lndependence Day, Labor Day,
Thanksgiving Day, Christmas Day, shall be paid for at double the
regular straight time rate of pay.

Section 4.03 No work shall be performed on Labor Day, except in case
of emergency and then only after permission is granted by the Business
Manager of the Union,

(a)ln any twenty-four (24) hour period, a consecutive seven (7)
hour rest period shall be provided, otherwise overtime rates shall
apply to all time worked after overtime starts. When overtime starts,
the highest (overtime) hourly rate attained shall not be reduced until
the employee has had a seven (7) hour break. However, if it is
necessary because of a job condition to start work two (2) hours
before job starting time (Monday through Friday inclusive), the time
worked between those hours and the job starting time shall be paid for
at the overtime rates, and eight (8) hours following shall revert to
straight time rates,

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Section 4.04 - Effective as of 12:01 a.m. June 2, 2014 to Midnight May
28, 2017, inclusive, the following minimum wages per hour shall apply:

lndustrial work shall be defined to mean “having the nature of,
or, characterized by lndustries, of, connected with, or resulting

from lndustries. lndustrial work shall be defined as work on, or
within any facility which manufactures, produces, or processes a
product.

Commercial work is defined as any work that is not lndustrial.

(The TWP Rates below do not include NLMCC, NElF or the
Administrative Fund)

The Total Wage Package for Commercial/lndustrial Journey Wireman
shall be:

$65.03 Effective 12:01 A.M. June 2, 2014 through May 31, 2015

$67.03 Effective 12:01 A.M. June 1, 2015 through May 29, 2016
$69.28 Effective 12:01 A.M. May 30, 2016 through May 27, 2017

Small Job Foreman - Not less than: $1.75 per hour above the
Journeyman's rate.

Foreman - Not less than: $2.25 per hour above the Journeyman's rate.

Large Job Foreman - Not less than: $2.75; per hour above the
Journeyman's rate.

General Foreman - Not less than: $3.25, per hour above the
Journeyman’s rate.

General Foreman - Not less than: $4.25 per hour above the
Journeyman's rate.

Sub-Foreman & Pusher - Not less than $1.75, per hour above the
Journeyman's rate.

ARTICLE lV
Section 4.04.

Effective 12:01 A.M. June 2, 2014, inclusive, the following
Commercial and lndustrial minimum wages per hour shall apply:

 

Journeyman ....................................................................................................... , ........ .$40.00
Apprentices - Indentured prior to June l , 2014:

lst period 30% . ...$12 . 00

Z“d period 3095 ..... . . $12 . 00

3rd period 45% ..... ..$18.00

4th period 52% ..... . . $20 . 80

Bth period 58%…. ... . $23 . 20

6th period 75% . .$30 . 00

ll

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Apprentices - Indentured after June l, 2014:
1St period 30%m…m……W…mmmmmm…m……mmmmmmmmm….m$l2.00
2“ period 30% ..... ..$12.00
3rd period 42% ..... ...$16.80
4th period 49%……m……mm…mm……mm…mm…mm……wmmmw..$19.60
5th period 55%…m…m……mmmmmmm…mmm…………mmmmmm..$22.00
6th period 70%……mm………mmmmmm…m…m…mmmm…mmmm..$28.00

 

Effective 12:01 A.M. June 2, 2014, to Midnight, May 31, 2015,
inclusive, the following Maintenance Commercial/lndustrial minimum
wages (which is 90% of C/l rate) per hour shall apply:

Journeymanmmmmm……mmmmmmmmmmmmm……mm…mm…m…mmm…mm….$36.00

Apprentices
lSt period 30% ..................................................................................... $10.80
2nd period 30% .................................................................................. .$10.80
3rd period 45% ..... ..$16.20
4th period 52% ..... ..$18.72
5th period 58% ..... _..$20.88
6th period 75% .................................................................................. .$27.00

 

Effective 12:01 A.M. June 1, 2015, to Midnight, May 29, 2016,
inclusive, the following Commercial and lndustrial minimum wages per
hour shall apply:

Journeyman ............................................................................................................... .$41.27
Apprentices

lSt period 30% ..................................................................................... $12.38

2nd period 30% .................................................................................. .$12.38

3rd period 45% .................................................................................. .$18.57

4th period 52% .................................................................................. .$21.46

5th period 58% .................................................................................. .$23.94

6th period 75% .................................................................................. .$30.95

Apprentices
lSt period 30%
2nd period 30% .38
3rd period 42%…mmm……mmmwmmmmmmmmm………mmmmm. .33
4th period 49%…mmmmmmmmmmm…m…m…mm…mmmmm…m..$20.22
5th period 55%mmmmm…mmimmmm…mmmmmm…mmmmmm..$22.70
6th period 70%…mmm………mmmmmm…mmmmmmmmmmmmw..$28.89

.38

 

Effective 12:01 A.M. June 1, 2015, to Midnight, May 29, 2016,
inclusive, the following Maintenance Commercial/lndustrial minimum
wages (which is 90% of C/l rate) per hour shall apply:

Journeymanmmmmmmmmmmmm……mmmmmmmmmmmmm…m……mmmmm….$37.14

Apprentices
lSt period
2nd period
3m period
4th period
5th period
6th period

 

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Effective 12:01 A.M. May 30, 2016, to Midnight, May 28, 2017,
inclusive, the following Commercial and lndustrial minimum wages per
hour shall apply:

 
 
 
 

Journeyman ............................................................................................................... .$42.67
Apprentices
lSt period 30%m. .................................................................... $12.80
2“iperiod 30%nn .m..$12.80
3rd period 45% .................................................................................. .$19.20
4U‘period 52% .$22.19
5th period 58% .$24.75
GU period 75% .................................................................................. .$32.00

Apprentices - lndentured after 6/1/2014.
lSt period 30% $12.80
Yw period 30% ..$lQ.SO
3rd period 42% ..$17.92
4th period 49% m..$20.91
5th period 55%mmmmmmmmmmmmmmmm…m……mmmmm……..$23.47
6th period 70%mmmmmmmm…mm…mmmmmmm…mmmmmm…..$29.87

 

Effective 12:01 A.M. May 30, 2016, to Midnight, May 28, 2017,
inclusive, the following Maintenance Commercial/lndustrial minimum
wages (which is 90% of C/l rate) per hour shall apply:

 

Journeymanmmmmm…m……mmmmm…mmmmmmmmm…mmmmmm…mmm…m.$38.40

Apprentices
lSt period 30% ..................................................................................... $11.52
2nd period 30% .$11.52
3rd period 45%. ..$17.28
4th period 52%. ..$19.97
BU period 58%. ..$22.27
6th period 75% .................................................................................. .$28.80

Section 4.04 - FOREMAN’S CLAUSE

On each job where two (2) to five Journeymen are required, one of them
shall be a Small Job Foreman and shall receive a minimum per hour over
the Journeyman's rate of: one dollar and seventy five cents ($1.75).

On each job where six (6)to eleven (ll) Journeymen are required, one
of them shall be a Foreman and shall receive a minimum per hour over
the Journeyman’s rate of: two dollars and twenty five cents ($2.25).

On each job where twelve (12) to twenty-four (24) Journeymen are
required, one of them shall be designated as Large Job Foreman and
shall receive a ndnimum per hour over the Journeyman’s rate of: two
dollars and seventy five ($2.75)

On each job where twenty-five (25) to fifty-four (54) Journeymen are
required, one of them shall be designated as a General Foreman and
shall receive a minimum per hour over the Journeyman's rate of: three
dollars and twenty five ($3.25)

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On each job where fifty-five (55) or more Journeymen are required, one
of them shall be designated as a General Foreman and shall receive a
minimum per hour over the Journeyman's rate of: four dollars ($4.25)

On each job where twelve (12) or more Journeymen are required, one of
them shall be designated as a Large Job Foreman, and one of them shall
be designated as a Pusher or Sub-Foreman, and receive a ndnimum per
hour over the Journeyman’s rate of: one dollar and seventy-five $1.75)

For each additional eleven (ll) Journeymen above the first twelve
employed on a job, an additional Pusher or Sub-Foreman shall be
designated.

The General Foreman, when he reports to the job and conditions prevent
him from working, shall be paid for an eight (8) hour day. He shall
also be paid his normal day's pay for all Holidays, as specified in
the Agreement.

Section 4.05 Wages shall be paid weekly, not later than quitting time
on Friday, and not more than three (3) days' wages will be held at
anytime. Any employee laid off, or discharged, shall be paid within
24 hours of lay-off or termination to the Local Union Hall.

(a) Wages shall be paid weekly on the regular pay day of each
Employer in U. S. Currency or by check.

(b) The Employer agrees to deduct - upon receipt of a voluntary
written authorization - the additional working dues from the pay of
each l.B.E.W. Member. The amount to be deducted shall be the amount
in the approved Local Union By-Laws. Such amount shall be certified

to the Employer by the Local Union upon request by the Employer. The
Employer shall remit same to the Financial Secretary of the Union
within twenty (20) days after the first (lst) of each month.

(c) The Employer agrees to deduct - upon receipt of a voluntary
written authorization - the sum of ten cents ($.10) per hour for each
hour worked from the pay of each l.B.E.W. Member. The amount shall be
forwarded monthly to the lnternational Brotherhood of Electrical
Workers. AFL-CIO Committee on Political Education, 900 Seventh
Street, NW, Washington, D. C. 20001.

Section 4.06 Any man reporting for work and being laid off, not
having been notified the day previous of such layoff, shall receive
not less than two (2) hours wages in order to gather his tools and
personal belongings. Any employee laid off, or discharged, shall be
paid. within 24 hours of lay-off or termination to the Local Union
Hall.

Section 4.07 No initial period of employment shall consist of less
than four (4) consecutive hours. When workmen report to a job and
conditions prevent them. from, working, the Employer shall pay the
workmen at least two (2) hours pay for reporting, unless notified one
(l) hour prior to starting time.

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Section 4.08 When so elected by the contractor, multiple shifts of at
least five (5) days duration may be worked. When two (2) or three (3)
shifts are worked:

The first shift (day shift) shall consist of eight (8) consecutive
hours worked between the hours of 8:00 a.m. and 4:30 p.m. Workmen on
the “day shift” shall be paid at the regular hourly rate of pay for
all hours worked.

(a) The second shift (swing shift) shall consist of eight
(8)consecutive hours worked between the hours of 4:30 P.M.
and 1:00 A.M. Workmen on the “swing shift” shall be paid
at the regular hourly rate of pay plus 10% for all hours
worked.

(b) The third shift (graveyard shift) shall consist of eight
(8) consecutive hours worked between the hours of 12:30 A.M.
and 9:00 A.M. Workmen on the “graveyard shift” shall be
paid at the regular hourly rate of pay plus 15% for all
hours worked.

(c The Employer shall be permitted to adjust the starting
hours of the shift by up to two (2) hours in order to meet
the needs of the customer.

(d) lf the parties to the Agreement mutually agree, the shift
week may commence with the third shift (graveyard shift) at
12:30 A.M. Monday to coordinate the work week with the
customer's work schedule. However, any such adjustment
shall last for at least five (5) consecutive days' duration
unless mutually changed by the parties to this agreement.

(e) An unpaid lunch period of thirty (30) minutes shall be
allowed on each shift.

(f) All overtime work required before the established start
time and after the completion of eight (8) hours of any
shift shall be paid at one and one-half times the “shift”
hourly rate.

(g) There shall be no pyramiding of overtime rates and double
the straight rate shall be the maximum compensation for any
hour worked.

(h) There shall be no requirement for a day shift when either
the second or third shift is worked.

Section 4.09 When the Employer has no permanent shop located in the

jurisdiction of the Union, then under such circumstances the job site
shall be considered the city in which the shop is located.

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Section 4.10 On all jobs employing five (5) or more Journeymen, if
available, every fifth (5th) Journeymen shall be fifty (50) years of
age or older.

Section 4.ll During periods where less than 50% of Journeymen
normally employed are employed, the Labor-Management Committee shall
have the right to limit the maximum number of hours a month per man,
in order to increase the number of men employed.

Section 4.12 Journeymen and Apprentices shall provide themselves with
a standard conventional kit of tools necessary to perform their
classification of work.

Section 4.l3 Workmen shall be held. responsible for the Employer's
tools and equipment, providing the employer furnishes a tool box with
proper lock or other safe place for the storing of such tools or
equipment and allows reasonable time for such care.

(a) The Employer shall provide a safe place for workmen's tools
and clothing; in the event of loss by fire, he shall be held
responsible for replacement thereto,

Section 4.14 Workmen shall install all electrical work in a safe and
workmanlike manner and in accordance with applicable code and contract
specifications.

(a) All electrical work including temporary light and power
shall be done by men employed under the terms of this agreement.

(b) On jobs whenever temporary lighting, power and/or equipment
is required for productive construction in other than regular working
hours by workmen other than electricians, at least one (l) Journeyman
electrician shall be employed on the site. This journeyman shall do
productive work when not engaged in temporary work.

(c) On renovation, repair, or maintenance temporary light,
power, and equipment shall be installed and maintained by electrical
workers covered under this agreement. No work shall be performed

outside of the regular working hours to maintain or repair this
temporary light, power, or equipment unless it is specifically at the
employer's request.

(d) Under all project circumstances, temporary electric shall be
left energized and in working condition past the normal working hours
for lighting, heating/air conditioning, job trailers and shanties,
receptacles used for equipment charging, ingress/egress and security
without the requirement for a journeyman electrician to be employed
past the normal working hours.

Section 4.15 A Journeyman shall be required to make corrections on
improper workmanship for which he is responsible on his own time and
during regular working hours, unless errors were made on orders of the
employer or the employer's representative. Employers shall notify the

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Union of workmen who fail to adjust improper workmanship and the Union
assumes responsibility for the enforcement of this provision.

Section 4.16 The representative of the Union shall be allowed access
to any shop or job at any reasonable time workmen are employed under
the terms of this agreement.

Section 4.17 The Employer shall pay for traveling time and furnish
transportation from shop to job, job to job, and job to shop, within
the jurisdiction of the Union, except when an Employee uses his own
transportation, he shall be compensated by his Employer, at no less
than twenty-two cents ($.22) per mile, from shop to job, job to job,
and job to shop, within the jurisdiction of the Union. On work
outside the jurisdiction of the Union, the Employer shall furnish
transportation, board and all other necessary expenses.

Section 4.18 No traveling time shall be paid before or after working
hours to workmen for traveling to and from any job in the jurisdiction
of the Union when workmen are ordered to report on the job.

Section 4.19 On all energized circuits or equipment carrying 440
volts or over, as a safety measure, two or more journeymen must work
together.

Section 4.20 The policy of the Members of the Local Union is to
promote the use of materials and equipment manufactured, processed or
repaired under economically sound wage, hour and working conditions by
qualified electrical workers.

Section 4.21 On jobs having a Foreman, workmen are not to take
directions or orders, or accept, the layout of any job from anyone
except the Foreman.

On jobs having a General Foreman, all directions or orders shall
be processed through the General Foreman.

Section 4.22 No workman shall act as a Foreman on more than one job
at a time.

Section 4.23 No Foreman shall supervise more than ten (10) Journeyman.
Section 4.24 When the position of General Foreman and/or Foreman has
been created on a job, such position shall be filled and neintained
until the conclusion of the job and be paid for until such conclusion
at the highest wage rate attained for the position during the job.
Section 4.25 All conduits shall be cut and threaded on the job.
Section 4.26 All pulling of wire or cable shall be done by hand by

manually operated winch or by such power drive as is within the
jurisdiction right of the l.B.E.W.

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Section 4.27 Any provision of this Agreement adjudged to be unlawful
by any court of competent jurisdiction shall be treated for all
purposes as null and void but all other provisions of this Agreement
shall continue to be in full force and effect except as provided
herein, and the parties thereupon seek to negotiate substitute
provisions which are in conformity with applicable laws.

Section 4.28 All Contractors who do not have a current consecutive
twelve month record of timely payment of wages and fringe benefits to
the Local Union No. 654, l.B.E.W. Trust Funds, will be required to
post a bond in the amount of: 25,000 dollars for employers with l - 10
employees; 50,000 dollars for employers with 11 - 25 employees;
$100,000 for employers with 26 - 50 employees; $200,000 for employers
with 51 - 100 employees; and $250,000 for employers in excess of 101
employees.

An increase in Local 654 employees as determined by Local 654
from one level to another (ex: 25 employees to 26) shall immediately
require the higher stated bond limit. The higher limit shall continue
for two months after the number of employees has dropped to a lower
level (ex: 51 to 50) and shall remain at that level until a new level
is reached. ln no case shall the bond be less than $25,000.00.
Contractors who do not comply with this requirement will not be
permitted to work under this agreement.

Any Contractor who becomes delinquent will have current manpower
removed until the bond is secured. A copy of this graduated Bonding
Schedule and an Employer Bonding List of employers who are currently
bonded shall be posted at the union office and a copy should be sent
to the local NECA Chapter office on a monthly basis.

lf the Employer working under this Agreement either as a Prime
Contractor, a Sub-Contractor, or as a Subcontractor at any level ceases work
on that project because of failure on the part of the Owner, Owner's Agent,
Construction Manager, Prime Contractor, or Subcontractor to pay monies dues
for properly submitted progress payments an/or payments for completed work
and/or payments for approved changes and/or work performed under a notice to
proceed order when such payments are due, then upon request of the affected
Contractor and upon application to the Labor Management Committee, the Labor
Management Committee may determine that the Union is not in violation of this
Agreement, and will not furnish Workmen to the Owner, Owner‘s Agent, Prime
Contractor, Subcontractor or any other Contractor, via referral, transfer of
workmen by the union or contractor for the purpose of completing that work at
issue when not being paid; and the purpose of this provision is to protect
the ability of the Employer to properly pay the base wages and benefits due
for labor expended on that project.

The provisions of this section will be implemented by a majority

vote of the Labor/Management Committee whose decision is final and
binding. 11/2013

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Section 4.29 MAlNTENANCE, repair, and renovations of existing
facilities after all initial installation of equipment has been made,
hereafter referred to as maintenance work, is defined as follows:

(a) Maintenance shall be defined to mean any work that must be
performed to keep the present equipment in running condition within
the permanent limits of the plant operation.

(b) Repair shall be defined to mean work performed to restore
operation of equipment or present structure by the replacement of bad
equipment with new equipment for continued plant operation.

(c) Renovations shall be defined to mean_ work performed to
improve and re-locate present equipment for more efficient operation
of the plant.

(d) Existing facilities shall be defined to mean any building
which has already been completed and accepted by the owner of said
building to start production of his product, and shall not apply to
any new construction which may be done in the future even though it
may be on the same property or attached to present facilities.

Maintenance work as defined above will be performed under the
terms of this Agreement, except as follows:

(1) All maintenance work performed outside the regular scheduled
working hours and on Saturdays shall be paid for at one and one-half
(1 %) the regular straight time rate of pay. All work performed on
Sundays and the following holidays: New Year's Day, Memorial Day,
Fourth of July, Labor Day, Thanksgiving Day and Christmas Day, or days
celebrated as such, shall be paid for at double the regular straight
time rate of pay.

Section 4.30 on every job where more than one member is employed, a
member of the Union shall be designated by the Business Manager‘s
Office of the Union to act in the capacity of job Steward.

(a) At no time shall a job or shop Steward be discriminated
against for the faithful performance of his duty.

(b) Stewards shall in no case cause a stoppage of work.

(c) ln the event of a dispute or trouble arising on any job,
workmen on the job shall remain at work. The job Steward on the job,
under such circumstances, shall first report the difficulty to the
Foreman_ having charge or the Contractor, and should this procedure
fail or delay the adjudication he shall then report the complaint
immediately to the Business Manager.

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(d) The Steward shall be assigned normal duties and shall not
leave said assignment without permission or supervision.

(e) ln the event the Business Manager and the Employer fail to
settle any such disputes, the matter shall be referred to adjudication
to the Labor-Management Committee as herein provided.

ARTICLE V

Apprenticeship and Training

Section 5.01 There shall be a Joint Apprenticeship and Training
Committee (JATC) consisting of a total of six or eight members who
shall also serve as Trustees to the local apprenticeship and training

trust. An equal number of members (either 3 or 4) shall be appointed,
in writing, by the local chapter of the National Electrical
Contractors Association (NECA) and the local union of the

lnternational Brotherhood of Electrical Workers (lBEW).

The local apprenticeship standards shall be in conformance with
national guideline standards and industry policies to ensure that each
apprentice has satisfactorily completed the NJATC required hours and
course of study. All apprenticeship standards shall be registered
with the NJATC before being submitted to the appropriate registration
agency.

The JATC shall be responsible for the training of apprentices,
journeymen, installers, technicians, and all others (unindentured,
intermediate journeymen, etc.).

Section 5.02 All JATC member appointments, reappointments and
acceptance of appointments shall be in writing. Each member shall be
appointed for a (3 or 4) year term, unless being appointed for a
lesser period of time to complete an unexpired term. The terms shall
be staggered, with one (1) term from each side expiring each year,
JATC members shall complete their appointed term unless removed for
cause by the party they represent or they voluntarily resign. All
vacancies shall be filled immediately.

The JATC shall select from its membership, but not both from the
same party, a Chairman and a Secretary who shall retain voting
privileges. The JATC will maintain one (1) set of minutes for JATC
committee meetings and a separate set of minutes for Trust meetings.

The JATC should meet on a monthly basis, and also upon the call
of the chairman.

Section 5.03 Any issue concerning an apprentice or an apprenticeship
matter shall be referred to the JATC for its review, evaluation and
resolve; as per standards and policies. lf the JATC deadlocks on any
issue, the matter shall be referred to the Labor-Management Committee

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for resolution as outlined in Article l of this agreement; except for
trust fund matters, which shall be resolved as stipulated in the local
trust instrument.

Sectiont 5.04 There shall be only one (1) JATC and one (1) local

apprenticeship and training trust. The JATC may, however, establish
joint subcommittees to meet specific needs, such as residential or
telecommunication apprenticeship. The JATC may also establish a

subcommittee to oversee an apprenticeship program within a specified
area of the jurisdiction covered by this agreement.

All subcommittee members shall be appointed, in writing, by the
party they represent. A subcommittee member~ may or may not be a
member of the JATC.

Section 5.05 The JATC may select and employ a part-time or a full-time
training director and other support staff, as it deems necessary. ln
considering the qualifications, duties and responsibilities of the
training director, the JATC should review the Training Director's Job
Description provided by the NJATC. All employees of the JATC shall
serve at the pleasure and discretion of the JATC.

Section 5.06 To help ensure diversity of training, provide reasonable
continuous employment opportunities and comply with apprenticeship
rules and regulations the JATC, as the program sponsor, shall have
full authority for issuing all job training assignments and for
transferring apprentices from one employer to another. The employer
shall cooperate in providing apprentices with needed work experiences.
The local union referral office shall be notified, in writing, of all
job training assignments. lf the employer is unable to provide
reasonable continuous employment for apprentices, the JATC is to be so
notified.

Section 5.07 All apprentices shall enter the program through the JATC
as provided for in the registered apprenticeship standards and
selection procedures.

An apprentice may have their indenture canceled by the JATC at
any time prior to completion as stipulated in the registered

standards. Time worked and accumulated in apprenticeship shall not be
considered for local union referral purposes until the apprentice has
satisfied all conditions of apprenticeship. lndividuals terminated

from apprenticeship shall not be assigned to any job in any
classification, or participate in any related training, unless they
are reinstated in apprenticeship as per the standards, or they qualify
through means other than apprenticeship, at sometime in the future,
but no sooner than two years after their class has completed
apprenticeship, and they have gained related knowledge and job skills
to warrant such classification.

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Section 5.08 The JATC shall select and indenture a sufficient number
of apprentices to meet local manpower needs. The JATC is authorized
to indenture the number of apprentices necessary to meet the job site
ratio as per Section 5.12.

Section 5.09 Though the JATC cannot guarantee any number of
apprentices; if a qualified employer requests an apprentice, the JATC
shall make every effort to honor the request. lf unable to fill the
request within ten (10) working days, the JATC shall select and
indenture the next available person from the active list of qualified
applicants. An active list of qualified applicants shall be
maintained by the JATC as per the selection procedures.

Section 5.10 To accommodate short-term. needs when apprentices are
unavailable, the JATC shall assign unindentured workers who meet the

basic qualifications for apprenticeship. Unindentured workers shall
not remain employed if apprentices become available for OJT
assignment. Unindentured workers shall be used. to meet job site

ratios except on wage-and-hour (prevailing wage) job sites.

Before being employed, the unindentured person must sign a letter
of understanding with the JATC and the employer --- agreeing that they
are not to accumulate more than two thousand (2,000) hours as an
unindentured, that they are subject to replacement by indentured
apprentices, and that they are not to work on wage-and-hour
(prevailing wage) job sites.

Should an unindentured worker be selected for apprenticeship, the
JATC will determine, as provided for in the apprenticeship standards,
if some credit for hours worked as an unindentured will be applied
toward the minimum OJT hours of apprenticeship.

The JATC may elect to offer voluntary related training to
unindentured; such as Math Review, English, Safety,
Orientation/Awareness, lntroduction to OSHA, First-Aid and CPR.
Participation shall be voluntary.

Section 5.11 The employer shall contribute to the local health and
welfare plans and to the National Electrical Benefit Fund (NEBF) on
behalf of all apprentices and unindentured, Contributions to other
benefit plans may be addressed in other sections of this agreement.

Section 5.12 Each job site shall be allowed. a ratio of two (2)
apprentices for every three (3) Journeyman Wiremen.

Number of Journeymen Maximum Number of Apprentices/Unindentured

 

1 to 3 2
4 to 6 4
Etc. Etc.

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The first person assigned to any job site shall be a Journeyman
Wireman.

A job site is considered7 to be the physical location where
employees report for their work assignments. The employer's shop
(service center) is considered to be a separate, single job site. All
other physical locations where workers report for work are each
considered to be a single, separate job site.

Section 5.13 An apprentice is to be under the supervision of a
Journeyman Wireman at all times. This does not imply that the
apprentice must always be in sight of a Journeyman Wireman.
Journeymen are not required to constantly watch the apprentice.
Supervision will not be of a nature that prevents the development of
responsibility and initiative. Work may be laid out by the employer's
designated supervisor or journeyman based on their evaluation of the
apprentice's skills and ability to perform the job tasks. Apprentices
shall be permitted to perform job tasks in order to develop job skills
and trade competencies. Journeymen are permitted to leave the
immediate work area without being accompanied by the apprentice.

Apprentices who have satisfactorily completed the first four
years of related‘ classroont training using the NJATC curriculum. and
accumulated a minimum of 6,500 hours of OJT with satisfactory
performance shall ~be permitted to work alone on any job site and
receive work assignments in the same manner as a Journeyman Wireman.
An apprentice shall not be the first person assigned to a job site
and apprentices shall not supervise the work of others.

Section 5.14 Upon satisfactory completion of apprenticeship, the
JATC shall issue all graduation apprentices an appropriate diploma
from the NJATC. The JATC shall encourage each graduating apprentice
to apply for college credit through the NJATC. The JATC may also
require each apprentice to acquire any electrical license required for
journeymen to work in the jurisdiction covered by this agreement.

Section 5.15 The parties to this Agreement shall be bound by the
Local Joint Apprenticeship and Training Trust Fund Agreement which
shall conform to section 302 of the Labor-Management Relations Act of
1947 as amended, ERISA and other applicable regulations.

The trustees authorized under this trust agreement are
hereby empowered to determine the reasonable value of any facilities,
materials or services furnished by either party. All funds shall be
handled and disbursed in accordance with the trust agreement.

Section 5.16 All employers subject to the terms of this Agreement
shall contribute the amount of funds specified by the parties
signatory to the local apprenticeship and training trust agreement.
The current rate of contribution is: one and one-half percent (1.5%),
of the gross monthly payroll. This sum shall be due the Trust Fund by

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the same date as is their payment to the NEBF under the terms of the
Restated Employees Benefit Agreement and Trust.

Section 5.17. There shall be twenty (20) Apprentices indentured every
year except when ten (10) or more Apprentices are unemployed for a
period of two (2) months prior to selection.

ARTICLE Vl
Fringe Benefits

Health and Welfare and Pension Plans

The Employers of the Chester Division, Penn-Del Jersey Chapter,
N.E.C.A., agree to participate jointly with Local Union #654,
l.B.E.W., in operations of the Health and Welfare and Pension Funds.

HEALTH AND WELFARE FUND

The Employer agrees to and shall comply with all the applicable
provisions of the Trust Agreement establishing the lnternational
Brotherhood of Electrical Workers, AFL-CIO, Local Union No. 654 Health
and Welfare Fund, entered into November 5, 1962.

The Trust Agreement provides for the payment of contributions
monthly into the Trust Eund, which shall be known as the lnternational
Brotherhood of Electrical Workers, Local Union No. 654, Health &
Welfare Fund. This sum shall be due the Trust,Fund twenty (20) days
following the end of each calendar month. '

For all Employees who perform Commercial and lndustrial work
covered by this Agreement, an amount per hour worked equal to:

Effective June 2, 2014 - $10.62
Effective June 1, 2015 - $10.62
EffeCtiVe May 31, 2016 - $10.62

lndividual Employers who fail to remit regularly shall be subject
to having this Agreement terminated upon seventy-two (72) hours notice
in writing being served by the Union, provided the Employer fails to
show satisfactory proof that delinquent payments have been paid into
the Health and Welfare Fund.

PENSION TRUST FUND
The Employer agrees to and shall comply with all the applicable
provisions of the Trust Agreement, establishing the lnternational

Brotherhood of Electrical Workers, AFL-CIO, Local Union No. 654,
Pension Fund, entered into August 26, 1963.

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The Pension Agreement provides for all employees who perform work
covered under this Agreement, the payment of contributions into the
Pension Fund, which shall be known as the lnternational Brotherhood of
Electrical Workers, AFL-ClO, Local Union No. 654, Pension Fund, shall
be as follows: This sum shall be due the Trust Fund twenty (20) days
following the end of each calendar month.

DEFINED BENEFIT:

Effective June 2, 2014, for all Employees who perform Commercial
and lndustrial work covered by this Agreement, an amount per hour
worked equal to: Journey Wireman $7.07; Apprentices periods 3
through 6: $2.63 per hour worked.

Effective June 1, 2015, for all Employees who perform Commercial
and lndustrial work covered by this Agreement, an amount per hour
worked equal to: Journey Wireman $7.57; Apprentices periods 3
through 6: $3.13 per hour worked.

Effective May 31, 2016, for all Employees who perform Commercial
and lndustrial work coveredt by this Agreement, an amount per hour
worked equal to: Journey Wireman $8.17; Apprentices periods~ 3
through 6: $3.73 per hour worked. .

DEFINED CONTRIBUTION:

 

Effective July 30, 2012, for all Journeyman who perform
Commercial or lndustrial work covered by this Agreement, an amount
equal to 13.71% of the Gross Labor Payroll.

N.E.B.F. PENSION

lt is agreed that in accord with the Employees Benefit Agreement
of the National Electrical Benefit Fund (“NEBF”), as entered into
between the National Electrical Contractors Association and the
lnternational Brotherhood of Electrical Workers on September 3, 1946,
as amended, and now delineated as the Restated Employees Benefit
Agreement and Trust, that unless authorized otherwise by the NEBF the
individual employer will forward monthly to the NEBF’s designated
local collection agent an amount equal to three percent (3%) of the
gross monthly labor payroll paid to, or accrued by, the employees in
this bargaining unit, and a completed payroll report prescribed by the
NEBF. The payment shall be made by check or draft and shall
constitute a debt due and owing to the NEBF on the last day of each
calendar month, which may be recovered by suit initiated by the NEBF

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or its assignee. The payment and the payroll report shall be mailed
to reach the office of the appropriate local collection agent not
later than fifteen (15) calendar days following the end of each
calendar month.

The individual Employer hereby accepts, and agrees to be bound
by, the Restated Employees Benefit Agreement and Trust.

An individual Employer who fails to remit as provided above shall
be additionally subject to having his agreement terminated upon
seventy-two (72) hours notice in writing being served by the Union,
provided the individual Employer fails to show satisfactory proof that
the required payments have been paid to the appropriate local
collection agent.

The failure of an individual Employer to comply with the
applicable provisions of the Restated Employees Benefit Agreement and
Trust shall also constitute a breach of this agreement.

ARTICLE Vl l
National Electrical lndustry Fund

Section 7.01 Each individual Employer shall contribute an amount not
to exceed one percent (1%) nor less than .2 of 1% of the productive
electrical payroll as determined by each local Chapter and approved by
the Trustees, with the following exclusions:

1. Twenty-five percent (25%) of all productive electrical
payroll in excess of 75,000 man-hours paid for electrical work in any
Chapter area during any calendar year but not exceeding 150,000 man-
hours.

2. One hundred percent (100%) of all productive electrical
payroll in excess of 150,000 man-hours paid for electrical work in any
one Chapter area during any one calendar year,

(Productive electrical payroll is defined as the total wages
(including overtime) paid with respect to all hours worked by all
classes of electrical labor for which a rate is established in the
prevailing labor area where the business is transacted.)

Payment shall be forwarded monthly’ to the National Electrical
lndustry Fund in a form and manner prescribed by the Trustees no later
than fifteen (15) calendar days following the last day of the month in
which the labor was performed. Failure to do so will be considered a
breach of this Agreement on the part of the individual Employer.

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Article Vlll
Local Labor-Management Cooperation Committee (LLMCC)

Section 8.01 - The parties agree to participate in a Labor-Management
Cooperation Fund, under authority of Section 6(b) of the Labor
Management Cooperation Act of 1978, 29 U.S.C. 175(a) and Section

302(c)(9) of the Labor Management Relations Act, 29 U.S.C. 186(c)(9).
The purposes of this Fund include the following:

1) to improve communications between representatives of Labor and
Management;

2) to provide workers and employers with opportunities to study
and explore new and innovative joint approaches to achieving
organizational effectiveness;

3) to assist workers and employers in solving problems of mutual
concern not susceptible to resolution within the collective bargaining
process;

4) to study and explore ways of eliminating potential problems
which reduce the competitiveness and inhibit the economic development
of the electrical construction industry;

5) to sponsor programs which improve job security, enhance
economic and community development, and promote the general welfare of
the community and industry;

6) to engage in research and development programs concerning
various aspects of the industry, including, but not limited to; new
technologies, occupational safety and health, labor relations, and new
.methods of improved production;»

7) to engage in public education and other programs to expand the
economic development of the electrical construction industry;

8) to enhance the involvement of workers in making decisions that
affect their working lives; and,

9) to engage in any other lawful activities incidental or related
to the accomplishment of these purposes and goals.

Section 8.02 The Fund shall function in accordance with, and as
provided in, its Agreement and Declaration of Trust and an amendments
thereto and any other of its governing documents. Each Employer
hereby accepts, agrees to be bound by, and shall be entitled to
participate in the LMCC, as provided in said Agreement and Declaration
of Trust.

Section 8.03. Effective May 29, 2006, each employer shall contribute
five cents ($.05) per hour worked. Payment shall be forwarded
monthly, in a form and manner prescribed by the Trustees, no later
than twenty (20) days following the last day of the month in which the
labor was performed. The Penn-Del-Jersey Chapter, NECA, or its
designee, shall be the collection agent for this Fund.

Section 8.04. lf an Employer fails to make the required contributions

to the Fund, the Trustees shall have the right to take whatever steps
are necessary to secure compliance. ln the event the Employer is in

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default, the Employer shall be liable for a sum equal to 15% of the
delinquent payment, but not less than the sum of twenty dollars ($20),
for each month. payment of contributions is delinquent to the Fund,
such amount being liquidated damages, and run: a penalty, reflecting
the reasonable damages incurred by the Fund due to the delinquency of
the payments. Such amount shall be added to and become a part of the
contributions due and payable, and the whole amount due shall bear
interest at the rate of ten percent (10%) per annum until paid. The
Employer shall also be liable for all costs of collecting the payment
together with attorneys’ fees.

ARTICLE lX
National Labor Management Cooperation Committee

Section 9.01 The parties agree to participate in the NECA-IBEW
National Labor-Management Cooperation Fund, under authority of Section
6(b) of the Labor-Management Cooperation Act of 1978, 29U.S.C.175(a)
and Section 302(c)(9) of the Labor-Management Relations Act, 29 U.S.C.
186(c)(9). The purpose of this Fund include the following:

(1) to improve communication between representatives of labor and
management;

(2) to provide workers and employers with opportunities to study
and explore new and innovative joint approaches to achieving
organization effectiveness; '

(3) to assist workers and employers in solving problems of mutual
concern not susceptible to resolution within the collective bargaining
process;

(4) to study and explore ways of eliminating potential problems
which reduce the competitiveness and inhibit the economic development
of the electrical construction industry;

(5) to sponsor programs which improve job security, enhance
economic and community development, and promote the general welfare of
the community and the industry;

(6) to encourage and support the initiation and operation of
similarly constituted local labor-management cooperation committees;

(7) to engage in research and development programs concerning
various aspects of the industry, including, but not limited to, new
technologies, occupational safety and health, labor relations, and new
methods of improved production;

(8) to engage in public education and other programs to expand
the economic development of the electrical construction industry;

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(9) to enhance the involvement of workers in neking decisions
that affect their working lives; and

(10) to engage in any other lawful activities incidental or
related to the accomplishment of these purposes and goals.

Section 9.02 The Fund shall function in accordance with, and as
provided in, its Agreement and Declaration of Trust, and any
amendments thereto and any other of its governing documents. Each

Employer hereby accepts, agrees to be bound by, and shall be entitled
to participate in the NLMCC, as provided in said Agreement and
Declaration of Trust.

Section 9.03 Each Employer shall contribute one cent ($.01) per
hour worked under this Agreement up to a maximum of 150,000 hours per
year, Payment shall be forwarded monthly, in a form. and manner

prescribed by the Trustees, no later than fifteen (15) calendar days
following the last day of the month in which the labor was performed.
The Penn-Del-Jersey Chapter, NECA, Chester Division, or its designee,
shall be the collection agent for this Fund.

Section 9.04 lf an Employer fails to make the required
contributions to the Fund, the Trustees shall have the right to take
whatever steps are necessary to secure compliance. ln the event the

Employer is in default, the Employer shall be liable for a sum equal
to 15% of the delinquent payment, but not less than the sum of twenty'
dollars ($20), for each month payment of contributions is delinquent
to the Fund, such amount being liquidated damages, and not a penalty
reflecting the reasonable damages incurred by the Fund due to the
delinquency of the payments. Such amount shall be added to and become
a part of the contributions due and payable, and the whole amount due
shall bear interest at the rate of ten percent (10%) per annum until
paid. The Employer shall also be liable for all costs of collecting
the payment together with attorney's fees.

ARTICLE X
Safety

Section 10.01. A Safety Committee consisting of Contractors'
representatives and members of Local Union 654 shall be appointed,

Section 10.02. Each contractor~ must provide in writing all safety
policies on each job and provide proper Arch-flash protection
equipment,

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Article Xl
Substance Abuse

Section 11.01. The dangers and costs that alcohol and other chemical
abuses can create in the electrical contracting industry in terms of
safety and productivity are significant. The parties to this

Agreement resolve to combat chemical abuse in any form and agree that,
to be effective, programs to eliminate substance abuse and impairment
should contain a strong rehabilitation component. The local parties
recognize that the implementation of ga drug and alcohol policy and
program must be subject to all applicable federal, state, and local
laws and regulations. Such policies and programs must also be
administered in accordance with accepted scientific principles, and
must incorporate procedural safeguards to ensure fairness in
application and protection of legitimate interests of privacy and
confidentiality. To provide a drug-free workforce for the Electrical
Construction lndustry, each lBEW local union and NECA chapter shall
implement an area-wide Substance Abuse Testing Policy. The policy
shall include minimum. standards as required by the lBEW and NECA.
Should any of the required minimum standards fail to comply with
federal, state, and/or local laws and regulations, they shall be
modified by the local union and chapter to meet the requirements of
those laws and regulations.

(Policy can be obtained either from LU#654 or Penn-Del-Jersey Chapter,
NECA)

ARTICLE Xll
Enabling Language

Section 12.1 - The parties agree that on each annual anniversary date
of the effective date of this agreement the Union may relocate the
total package being paid by employer between wages and benefits, and,
as between benefits; provided, however, that no relocation of the
total wage package to the benefits shall result in the Defined Benefit
Plan or the Defined Contribution Plan being in violation of section
415 of the lnternal Revenue Code; and provided further that no
relocation shall result in any employer being required to pay more
than the agreed upon total wage package in effect at the time the
relocation is made, taxes and insurance based upon the total package
or the base rate of pay excepted,

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ARTICLE Xlll
Administrative Fund

Section 13.01. Each Employer covered by this Agreement will
contribute to the Administrative Fund % of 1% of their gross labor
payroll effective 6/1/1999 for all work covered by this Agreement. The
Fund will be administered solely by the Association and will be
utilized to pay to Management's costs of the labor contract
administration including negotiations, disputes and grievance
representation and for other administrative functions and expenses
required of management, including service on fringe benefit funds.

Further, from time to time it will be utilized for promotion of
the electrical contracting industry and the enhancement of labor
relations in Eastern Pennsylvania.

No part of the funds collected under this trust will be used for
any purpose which is held to be in conflict with the interests of the
lnternational Brotherhood of Electrical Workers and its Local Unions.

Payment will be forwarded monthly to the designated depository in
a form and manner prescribed by the trustees, no later than fifteen
(15) calendar days following the last day of the month in which labor
was performed. Failure to do so will be considered a breach of this
Agreement by the individual Employer.

Enforcement for delinquent payments to the Fund will be the sole
responsibility of the Fund or the employers and not the Local Union.

ARTICLE XIV
Credit Union Deduction

Section 14.1. The parties hereto agree to deduct an amount equal to
six percent (6%) of said Employee's gross wages, and forward check in
this amount made payable to TD Bank with one copy of summary report,
and a copy of the monthly payroll report and mail to TD Bank, Attn:
Stingel 02-206-02-23, 6000 Atriunl Way, Mount Laurel, NJ 08054. All
monies to be due on the twentieth (20) day of the following month from
which deductions have been made. Authorization card must be signed
for Credit Union deductions.

ARTICLE XV
IBEW /NECA Code of Excellence

Section 15.1. The parties to this Agreement recognize that to meet
the needs of our customers, both employer and employee must meet the
highest levels of performance, professionalism, and productivity. The
Code of Excellence has proven to be a vital element in neeting the
customers' expectations. Therefore each lBEW local union and NECA
chapter shall implement a Code of Excellence Program. The program
shall include minimum. standards as designed. by the lBEW and NECA.
(Program Document can be obtained either from LU#654 or Penn-Del-
Jersey Chapter, NECA)

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Separability Clause

Should. any provision. of this Agreement be declared illegal by any
court of competent jurisdiction, such provisions shall immediately
become null and void, leaving the remainder of the Agreement in full
force and effect and the parties shall, thereupon, seek to negotiate
substitute provisions which are in conformity with the applicable
laws.

lN WlTNESS THEREOF, the parties have executed this Amendment
this 21st day of November 2013.

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